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 4                                                                   JUDGE LEIGHTON
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 6
                            UNITED STATES DISTRICT COURT
 7                    WESTERN DISTRICT OF WASHINGTON, AT TACOMA

 8   UNITED STATES OF AMERICA,           )
                                         )                      NO. CR06-5101RBL
 9         Plaintiff,                    )
                                         )                      ORDER AND RECOMMENDATION
10   vs.                                 )                      SUPPLEMENTAL TO JUDGMENT AND
                                         )                      SENTENCE
11
     JOSE ANGEL LOPEZ-VAZQUEZ, aka       )
12
     JOSE ANGEL LOPEZ-AGUILAR,           )
                                         )
13         Defendant.                    )
     ____________________________________)
14
             THIS MATTER having come on regularly before the above-entitled Court, upon the motion of the
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     Defendant, JOSE ANGEL LOPEZ-VAZQUEZ, aka, JOSE ANGEL LOPEZ-AGUILAR, for an Order and
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     Recommendation supplemental to the Judgment and Sentence rendered herein on September 8, 2006. The
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     Court having reviewed the instant motion, the declaration accompanying said Motion and the Court being in
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19   all respects fully advised, now, therefore, it is hereby

20           ORDERED as follows:

21

                             Order -1                                                           THOMAS A. CENA, JR.
                                                                                                        Attorney at Law
                                                                                              2115 North 30th, Suite 201
                                                                                                   Tacoma, WA 98403
                                                                                    (253) 572-5120 Fax: (253) 593-4503
                                                                                       E-MAIL: TomC55@nventure.com
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 3          The Court makes the following recommendations regarding placement of the Defendant for the
 4   period of his incarceration and custody pursuant to the sentence imposed upon him:
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            1.      It is recommended that the Defendant be considered by the Bureau of Prisons and other
 6
     relevant authorities for the prisoner exchange program between the United States and Mexico;
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            2.     It is recommended that the Bureau of Prisons arrange for placement of the Defendant at FCI
 8   Sheridan, Oregon, in order to allow him to have optimal contact with his family.

 9   IT IS SO ORDERED this 12th day of September, 2006.


                                                 A
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12                                               RONALD B. LEIGHTON
                                                 UNITED STATES DISTRICT JUDGE
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14
     Presented by
15

16
     /s/ Thomas A. Cena, Jr.
17
     _____________________________________
     THOMAS A. CENA, JR., WSBA No. 6539
18   Attorney for Defendant Lopez-Vazquez

19

20

21

                           Order -2                                                       THOMAS A. CENA, JR.
                                                                                                  Attorney at Law
                                                                                        2115 North 30th, Suite 201
                                                                                             Tacoma, WA 98403
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